                   IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


ZALONDA WOODS                               )
                                            )
                   Plaintiff,               )
                                            )
                   v.                       )           1:19cv334
                                            )
GUILFORD COUNTY DSS, et al.,                )
                                            )
                   Defendant(s).            )


              MEMORANDUM OPINION, ORDER, AND RECOMMENDATION
                    OF UNITED STATES MAGISTRATE JUDGE

       This   matter    comes    before   the   undersigned       United   States

Magistrate Judge on the Application to Proceed in District Court

Without Prepaying Fees or Costs (the “Application”) (Docket Entry

1) filed in conjunction with Plaintiff’s pro se Complaint (Docket

Entry 2).       The undersigned will grant the Application for the

limited purpose of recommending dismissal of this action under 28

U.S.C. § 1915(e)(2) for failing to state a claim and as barred by

immunity doctrines.

                                 LEGAL STANDARD

       “The federal in forma pauperis statute, first enacted in 1892

[and now codified at 28 U.S.C. § 1915], is intended to guarantee

that no citizen shall be denied access to the courts solely because

his poverty makes it impossible for him to pay or secure the

costs.” Nasim v. Warden, Md. House of Corr., 64 F.3d 951, 953 (4th

Cir.    1995)    (en    banc)    (internal      quotation    marks     omitted).

“Dispensing     with    filing   fees,    however,   [is]    not    without       its




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problems. . . . In particular, litigants suing in forma pauperis

d[o] not need to balance the prospects of successfully obtaining

relief against the administrative costs of bringing suit.” Nagy v.

FMC Butner, 376 F.3d 252, 255 (4th Cir. 2004).                To address this

concern, the in forma pauperis statute provides that “the [C]ourt

shall dismiss the case at any time if the [C]ourt determines . . .

the action . . .(ii) fails to state a claim on which relief may be

granted; or (iii) seeks monetary relief against a defendant who is

immune from such relief.”      28 U.S.C. § 1915(e)(2).

       As to the first ground, a plaintiff “fails to state a claim on

which relief may be granted,” 28 U.S.C. § 1915(e)(2)(B)(ii), when

the complaint does not “contain sufficient factual matter, accepted

as true, to ‘state a claim to relief that is plausible on its

face,’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (emphasis

added) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570

(2007)).     “Where    a   complaint    pleads    facts    that    are   ‘merely

consistent with’ a defendant’s liability, it ‘stops short of the

line   between   possibility    and    plausibility      of   “entitlement       to

relief.”’”    Id. (quoting Twombly, 550 U.S. at 557).             This standard

“demands more than an unadorned, the-defendant-unlawfully-harmed-me

accusation.”     Id.   In other words, “the tenet that a court must

accept as true all of the allegations contained in a complaint is

inapplicable to legal conclusions.           Threadbare recitals of the




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elements of   a   cause    of    action, supported         by   mere    conclusory

statements, do not suffice.”           Id.1

     The next ground for dismissal under 28 U.S.C. § 1915(e)(2)(B)

generally applies to situations in which doctrines established by

the United States Constitution or at common law immunize government

entities and/or government personnel from liability for damages.

See, e.g., Pennhurst State Sch. & Hosp. v. Halderman, 465 U.S. 89

(1984) (discussing eleventh-amendment immunity of states and state

officials);   Pierson     v.    Ray,    386   U.S.   547   (1967)      (describing

interrelationship between 42 U.S.C. § 1983 and common-law immunity

doctrines); cf. Allen v. Burke, 690 F.2d 376, 379 (4th Cir. 1982)

(noting that, even where “damages are theoretically available under

[certain] statutes . . ., in some cases, immunity doctrines and

special defenses, available only to public officials, preclude or




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       Although “[a] document filed pro se is to be liberally
construed and a pro se complaint, however inartfully pleaded, must
be held to less stringent standards than formal pleadings drafted
by lawyers,” Erickson v. Pardus, 551 U.S. 89, 94 (2007) (citation
and internal quotation marks omitted), the United States Court of
Appeals for the Fourth Circuit has “not read Erickson to undermine
Twombly’s requirement that a pleading contain more than labels and
conclusions,” Giarratano v. Johnson, 521 F.3d 298, 304 n.5 (4th
Cir. 2008) (internal quotation marks omitted) (dismissing pro se
complaint); accord Atherton v. District of Columbia Office of
Mayor, 567 F.3d 672, 681-82 (D.C. Cir. 2009) (“A pro se complaint
. . . ‘must be held to less stringent standards than formal
pleadings drafted by lawyers.’ But even a pro se complainant must
plead ‘factual matter’ that permits the court to infer ‘more than
the mere possibility of misconduct.’” (first quoting Erickson, 551
U.S. at 94; then quoting Iqbal, 556 U.S. at 679)).

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severely     limit   the    damage    remedy”      (internal     quotation     marks

omitted)).

                                  BACKGROUND

       Asserting claims under the 4th, 6th, and 14th Amendments, “42

C.F.R. Part 489” and “HIPPA” (Docket Entry 2 at 2-3),2 Plaintiff

initiated         this       action          against        22       defendants:

(1) “Guilford Co. DSS,” (2) “Guilford Co. Police Dept,” (3) “Moses

Cone Women’s Hospital” (“Defendant Hospital”), (4) “Judge Betty

Brown” (“Judge Brown”), (5) “Judge Jarrall Jones” (“Judge Jones”),

(6) “Guilford Co. G[ua]rdian [ad] litem program attorney office,”

(7)     “Randleman    Co.    Schools,”       (8)    “Guilford       Co.   Schools,”

(9)    “Heather   Skeens,”    (10)     “Kim    Miles”    (“Defendant       Miles”),

(11) “Sarah Fitzgerald” (“Defendant Fitzgerald”), (12) “Officer

Bowen,” (13) “Chief Wayne Scott,” (14) “Unknown Officer [1],”

(15) “Unknown Officer [2],” (16) “Unknown Officer Supervisor,”

(17) “Ashley Triplett,” (18) “Dr. Jacob Stinson,” (19) “Dr. John

Allagen,” (20) “Lisa Thompson,” (21) “Archdale Elementary School,”

and (22) “Gal Attorney Donna Michelle Wright” (“Attorney Wright”).

(Id. at 1-2.)        In that regard, the Complaint alleges under its

“Statement of Claim” the following:



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       Under “Nature of Suit” on the Civil Cover Sheet (see Docket
Entry 3 at 1), Plaintiff checked and circled the box for “Amer.
w/Disabilities-Other” (see id.). The Complaint, however, makes no
allegations that Plaintiff suffers from any disability or that
Defendants otherwise discriminated against her based on any
disability. (See Docket Entry 2 at 1-4.)

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     4/2016 - seizure of Plaintiff’s 3 children w[as] unlawful
     and violated the 4th and [14th] amendment rights of
     Plaintiff by [D]SS and reps[;]

     4/14/2016 - violation of [6th] amendment [ ] rights of
     [P]laintiff was violated by Judge [] Brown and social
     workers [Defendant] Miles and [Defendant] Fitzgerald[;]

     3/25/2016 - violation of [Defendant H]ospital and
     representatives in regards to 42 CFR Part 489 whereas
     doctors put creating a case ahead of health and
     stabilization of [Plaintiff;]

     4/14/2016 - violation of due process rights of
     [P]laintiff by Judge [] Brown and Judge [] Jones who did
     not a[c]knowledge procedural safeguards to protect rights
     which included 14[th amendment] rights[;]

     3/25/2016 - police dept and representatives unlawfully
     entered home and removed children to speak to social
     workers and threatened [P]laintiff by sep[a]rating mother
     from her children and placing oneself on door with hand
     on gun and assisted in coer[c]ion of [P]laintiff[;]

     [ ] Attorney [ ] Wright helped Randleman Co[.] schools
     get a judge’s order after [P]laintiff expressed it
     violated federal law[;]

     Randleman Co. Schools representatives violated federal
     law by allowing DSS representative to act as a parent
     after objections from [P]laintiff whose rights were
     intact[;]

     Guilford Co[.] schools representatives did not demand to
     see a warrant when they [ ] removed from their schools
     juveniles of [P]laintiff[;]

     [Defendant] Hospital violated federal rights that are
     outlined in 42 CFR Part 489 and HIPAA rights as their
     claims were not true and the information provided
     exceeded the scope of a A/N/D investigation that they
     started.

(Id. at 2-3.)    Finally, the Complaint requests as relief “damages

. . . in the form of pain and suffering [ ] due to the unlawful

seizure   of    [Plaintiff’s]   children     by   [Defendants]     who    took

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advantage of the situation and further violated [Plaintiff’s]

federal rights through the lack of due process.”                      (Id. at 4.)3

                                       DISCUSSION

       Presented in a conclusory and sometimes incoherent fashion,

the Complaint’s allegations apparently relate to events surrounding

the removal         of    Plaintiff’s    children    from   her   custody.         (See

generally id. at 1-4.)            Although the Court “cannot shoulder the

full       burden   of    fashioning    a   viable   complaint        for   a   pro    se

plaintiff,” Simon v. Shawnee Corr. Ctr., Civ. No. 13-521, 2013 WL

3463595, at *1 (S.D. Ill. July 9, 2013) (unpublished), based upon

the references in the Complaint to deprivation of Plaintiff’s

constitutional rights under the 4th, 6th, and 14th Amendments and

federal rights under “42 CFR Part 489” (Docket Entry 2 at 2-3), and

“HIPPA” (id. at 3), this action conceivably could fall under 42

U.S.C. § 1983.           See Martin v. Gentile, 849 F.2d 863, 868 (4th Cir.



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       The undersigned Magistrate Judge previously “deferr[ed]
ruling on [Plaintiff’s instant] Application [ ] and requir[ed her]
to file an amended complaint . . . .” (Text Order dated Apr. 16,
2019; see also id. (setting deadline of May 17, 2019, for filing of
amended complaint).) That Text Order advised Plaintiff that her
“Complaint consist[ed] of conclusory allegations,” that it
“lack[ed] sufficient supporting factual allegations to proceed,”
that it did “not include even conclusory allegations as to some
defendants and other purported defendants do not exist,” and that
judges enjoy absolute immunity for “actions taken in their judicial
capacity.” (Id. (internal parenthetical omitted).) Despite the
opportunity “to file an amended complaint that contains properly
supported claims against proper defendants,” as well as a warning
that failure to do so “will result in dismissal” (id.), Plaintiff
did not file an amended complaint (see Docket Entries dated Apr.
16, 2019, to present).

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1988) (explaining that courts must “construe [pro se complaints]

liberally to assert any and all legal claims that its factual

allegations can fairly be thought to support” (citing Haines v.

Kerner, 404 U.S. 519 (1972)).         However, even liberally construed,

the Complaint fails to plead a viable Section 1983 claim.

Section 1983 Claim

      As an initial matter, to state a claim for relief under

Section 1983, Plaintiff must allege factual matter showing “that

[she was] deprived of a right secured by the Constitution or laws

of   the    United   States,   and   that   the    alleged     deprivation        was

committed under color of state law.”          American Mfrs. Mut. Ins. Co.

v. Sullivan, 526 U.S. 40, 49–50 (1999).4            Moreover, Plaintiff must

raise her Section 1983 claims “against a ‘person’” capable of

committing a violation of her constitutional rights.                   Conley v.

Ryan, 92 F. Supp. 3d 502, 519 (S.D. W. Va. Mar. 13, 2015) (quoting

42 U.S.C. § 1983).




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          Specifically, Section 1983 provides, in pertinent part, that

      [e]very person who, under color of any statute,
      ordinance, regulation, custom, or usage, of any State or
      Territory or the District of Columbia, subjects, or
      causes to be subjected, any citizen of the United States
      or other person within the jurisdiction thereof to the
      deprivation of any rights, privileges, or immunities
      secured by the Constitution and laws, shall be liable to
      the party injured in an action at law, suit in equity, or
      other proper proceeding for redress[.]

42 U.S.C. § 1983 (emphasis added).

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     A. Judge Brown and Judge Jones

     Turning     to     specific   allegations        against    Defendants,       the

Complaint appears to allege that both Judge Brown and Judge Jones

presided, as judges, over matters involving Plaintiff. (See Docket

Entry 2 at 2-3.)         “Judges performing judicial acts within their

jurisdiction are entitled to absolute immunity from civil liability

claims,” In re Mills, 287 F. App’x. 273, 279 (4th Cir. 2008), “even

if such acts were allegedly done either maliciously or corruptly,”

King v. Myers, 973 F.2d 354, 356 (4th Cir. 1992) (citing Pierson v.

Ray, 386 U.S. 547, 554 (1967)).         See also Mireles v. Waco, 502 U.S.

9, 11 (1991) (stating that “judicial immunity is an immunity from

suit, not just from ultimate assessment of damages”). To determine

whether   an    action    constitutes    a    “judicial     act”    protected      by

judicial immunity, the Court must consider “whether the function is

one normally performed by a judge, and whether the parties dealt

with the judge in his or her judicial capacity.”                King, 973 F.2d at

357. Thus, a plaintiff can overcome the judicial immunity bar only

if the judge’s “actions were non-judicial or the actions were

judicial but were taken without jurisdiction.”                  Evans v. Downey,

No. 1:15-CV-117, 2016 WL 3562102, at *2 (W.D. Ky. June 24, 2016)

(unpublished) (citing Mireles, 502 U.S. at 13).

     Here, the Complaint provides no information to suggest that

Judge Brown or Judge Jones acted in a non-judicial capacity or

otherwise      lacked    jurisdiction    in     any    actions     challenged      by


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Plaintiff.    (See Docket Entry 2 at 1-4.)             The Complaint alleges

only that Judge Brown “violated [             6th] amendment [] rights of

[P]laintiff” (id.), and that both Judge Brown and Judge Jones

“violat[ed     ]   due   process    rights      of    [P]laintiff”      by    “not

a[c]knowledg[ing] procedural safeguards to protect [Plaintiff’s

14th amendment] rights” (id.).           Under these circumstances, both

Judge Brown and Judge Jones enjoy absolute judicial immunity from

Plaintiff’s   damages    claims.         In    addition,    the     Complaint’s

conclusory allegations of wrongdoing by Judge Brown and Judge Jones

lack “sufficient factual matter . . . to state a claim to relief

that is plausible on its face.”       Iqbal, 556 U.S. at 678 (internal

quotation marks omitted).          As such, the Court should dismiss

Plaintiff’s claims against Judge Brown and Judge Jones.

     B. Randleman    County    Schools        and    Guilford    County      Police
     Department

     Neither Randleman County Schools nor Guilford County Police

Department exists and, therefore, neither constitutes a proper

legal entity capable of being sued. In addition, even if Plaintiff

had named an actual school system or law enforcement office, any

such entity likely would not qualify as a “person” under Section

1983. See, e.g., Wilson v. Marion Police Dep’t, No. 1:19cv53, 2019

WL 1028012, at *2 (W.D.N.C. Mar. 4, 2019) (unpublished) (finding

that, “police departments and sheriff’s departments lack the legal

capacity to be sued”), aff’d, 771 F. App’x 289 (4th Cir. June 24,

2019); McDaniel on behalf of A.M. v. Charlotte Mecklenburg Sch.,

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No. 3:18cv127, 2018 WL 1863068, at *3 (W.D.N.C. Apr. 18, 2018)

(unpublished) (finding that defendant school system was “not a

distinct legal entity capable of being sued, nor [was] it a person

within the meaning of [Section] 1983” (internal quotation marks

omitted)); Mobley v. Guilford Cty. Sheriff’s Office, No. 1:17cv115,

2017 WL 1409579, at *3 (M.D.N.C. Apr. 20, 2017) (unpublished)

(finding that “the Guilford County Sheriff’s Office [ ] does not

qualify as a legal entity capable of being sued under [Section]

1983”), recommendation adopted, slip. op. (M.D.N.C. May 24, 2017).

The Court therefore should dismiss all claims against Randleman

County Schools and Guilford County Police Department.

      C. Defendant Hospital

      Regarding Defendant Hospital, the Complaint appears to assert

a   violation   of   federal    rights    under    federal      administrative

regulations and, in that regard, its claims must fail.                     “For

[ P]laintiff to bring a claim pursuant to [Section] 1983 to enforce

a federal law, the Court must discern whether that federal law

created   a   private   individual    right;      the   inquiry    requires     a

determination as to whether or not Congress intended to confer

individual rights upon a class of beneficiaries.” Shirley v. South

Carolina Family Ct., Civ. No. 9:10-2632, 2010 WL 5390123, at *3

(D.S.C. Nov. 30, 2010) (unpublished) (internal quotation marks

omitted), recommendation adopted, 2010 WL 5387606, at *1 (D.S.C.

Dec. 22, 2010) (unpublished).        In this regard, the Complaint does


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not show that a private cause of action exists under 42 C.F.R. §

489.    (See Docket Entry 2 at 1-4.)

       Further, the Complaint fails to provide sufficient allegations

to support any claim against Defendant Hospital, see Iqbal, 556

U.S. at 678, alleging only that Defendant Hospital “put creating a

case ahead of health and stabilization of [Plaintiff]” (Docket

Entry 2 at 2), and made “claims [which] were not true and [ ]

information provided exceeded the scope of a A/N/D investigation

that   they    started”   (id.   at   3).     Therefore,        “even   if   this

[administrative] regulation and the statutory provision to which it

may be traced give rise to private substantive and procedural

rights, the [       C]omplaint lacks factual allegations that would

support a claim for violation of the right.”               Bush v. Frazier,

2:18cv732, 2019 WL 3305145, at *11 (N.D. Ala. July 23, 2019)

(unpublished).

       The Complaint also alleges that Defendant Hospital “violated

[Plaintiff’s] federal rights that are outlined [under] . . . HIPAA

. . . .”      (Docket Entry 2 at 3.)        However, “there is no private

cause of action under HIPAA.”          Regan v. U.S. Dept. Of Veterans

Affairs, No. 5:11CV422, 2012 WL 4866360, at 2 n.3 (E.D.N.C. July

25, 2012) (unpublished) (internal quotation marks omitted), aff’d,

518 F. App’x 160 (4th Cir. 2013); see also id. (noting that,

although “HIPAA does provide for civil and criminal penalties, such

penalties can only be enforced by authorized state agencies or the


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Secretary of Health and Human Services” (internal quotation marks

omitted)).

     Accordingly,    the   Court    should   dismiss      Plaintiff’s claims

against Defendant Hospital.

     D. Guilford Co. DSS, Defendant Miles, Defendant Fitzgerald,
     Attorney Wright, and Guilford Co. Schools

     As to Guilford Co. DSS, Defendant Miles, Defendant Fitzgerald,

Attorney Wright, and Guilford Co. Schools, even permitting a

finding that any of the entities could qualify as proper for suit,

the Complaint inevitably fails to state a viable Section 1983

claim.     Liberally construed, any such claims appear to rest on

theories    that   (i)   Guilford   Co.   DSS    “seiz[ed        ]Plaintiff’s     3

children” (Docket Entry 2 at 2), (ii) Defendant Miles and Defendant

Fitzgerald “violat[ed] [] sixth amendment [] rights of [P]laintiff”

(id.), (iii) Attorney Wright “helped . . . get a judge’s order

after [P]laintiff expressed it violated federal law” (id. at 3),

and (iv) “Guilford Co[.] schools representatives did not demand to

see a warrant when [Plaintiff’s children] were removed from their

schools . . .” (id.).          In this regard, the Complaint’s vague

assertions do not plausibly establish that Defendants unlawfully

deprived Plaintiff of her constitutional rights.                 The Complaint’s

allegations qualify as the type of conclusory “the-defendant-

unlawfully-harmed-me accusation[s],” Iqbal, 556 U.S. at 678, that

fail to support a Section 1983 claim.            As such, the Court should



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dismiss all claims against Guilford Co. DSS, Defendant Miles,

Defendant Fitzgerald, Attorney Wright, and Guilford Co. Schools.

        E. Remaining Defendants

        Lastly, the Complaint fails to specifically assert any factual

allegations against Guilford County Guardian ad litem program

attorney’s office, Heather Skeens, Officer Bowen, Chief Wayne

Scott, Unknown Officer 1, Unknown Officer 2, Unknown Officer

Supervisor, Ashley Triplett, Dr. Jacob Stinson, Dr. John Allagen,

Lisa Thompson, and Archdale Elementary Schools (see Docket Entry 2

at 1-4), and, as such, its claims against these Defendants fail as

a matter of law.         See Sain v. Quinn, No. 5:10CV505, 2011 WL

6780828, at * 1 (E.D.N.C. Dec. 27, 2011) (unpublished) (“[A] review

of the complaint reveals that [the defendants’ names] appear[] only

in the caption of the complaint.           There are no specific factual

allegations against [the defendants]. [The p]laintiff has not

alleged in his complaint that [the defendants unlawfully deprived

the     plaintiff   of   constitutional        or     other     federal    rights].

Therefore, [the] plaintiff’s claims fail against [the defendants]”

(citing Iqbal, 556 U.S. at 678)).          Accordingly, this Court should

dismiss all claims against Guilford County Guardian ad litem

program attorney’s office, Heather Skeens, Officer Bowen, Chief

Wayne Scott, Unknown Officer 1, Unknown Officer 2, Unknown Officer

Supervisor, Ashley Triplett, Dr. Jacob Stinson, Dr. John Allagen,

Lisa Thompson, and Archdale Elementary Schools.


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                                  CONCLUSION

     The Complaint fails to state a claim against any Defendant and

judicial immunity bars the purported claims against Judge Brown and

Judge Jones.

     IT IS THEREFORE ORDERED that Plaintiff’s Application (Docket

Entry 1) is GRANTED for the limited purpose of considering this

recommendation of dismissal.

     IT IS RECOMMENDED that this action be dismissed with prejudice

pursuant   to   28   U.S.C.   §   1915(e)(2)(B)(iii),      or   alternatively

pursuant to 28 U.S.C. § 1915(e)(2)(B)(ii), as to Judge Brown and

Judge Jones.

     IT IS FURTHER RECOMMENDED that this action be dismissed

without prejudice pursuant to 28 U.S.C. § 1915(e)(2)(B)(ii) as to

all remaining Defendants.

                                            /s/ L. Patrick Auld
                                               L. Patrick Auld
                                        United States Magistrate Judge

November 13, 2019




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